         Case 4:04-cr-00292-JLH Document 119 Filed 06/12/06 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  No. 4:04CR00292-01 JLH

USHINDI SPEARS                                                                       DEFENDANT

                                             ORDER

       Without objection, the government’s Motion to Apply Seized Funds to Restitution is

GRANTED. Document #116. The $1,000.00 cash in evidence at the FBI in this case is to be

deposited with the Clerk of Court and directed as payment of outstanding restitution to the Recording

Industry Association of America.

       IT IS SO ORDERED this 12th day of June, 2006.




                                              J. LEON HOLMES
                                              UNITED STATES DISTRICT JUDGE
